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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 SEITHER & CHERRY QUAD                       Case No. 23‐11310
 CITIES, INC.,
                                             F. Kay Behm
       Plaintiff,                            United States District Judge
 v.

 OAKLAND AUTOMATION, LLC,
 et al.,

      Defendants.
 ____________________________/

              NOTICE OF VIDEO RULE 16 SCHEDULING CONFERENCE
                AND RULE 26 JOINT DISCOVERY PLAN DEADLINE

      Take notice that the above‐entitled case has been set for a Video Rule 16

Scheduling Conference on October 19, 2023 at 11:30 a.m., before Judge F. Kay

Behm. Counsel shall use the Microsoft Teams link that will be emailed to them.

      Before the Scheduling Conference, pursuant to Rule 26(f)(2), the attorneys

of record are jointly responsible for the preparation of a discovery plan that

includes the information identified in Rule 26(f)(3) and may also include reference

to the issues listed in Rule 16(c)(2) if relevant. Rule 26(f)(1) requires that the

parties confer no later than 21 days before the scheduling conference and

develop a proposed discovery plan. This plan must be submitted to the Court at
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least seven days before the date of the Rule 16 Scheduling Conference date

identified above. Please see Case Management Order template for guidance.

                                     s/F. Kay Behm
                                     F. Kay Behm
                                     United States District Judge
Dated: September 6, 2023
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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                       Plaintiff(s),   Case No. ___________

v.                                   F. Kay Behm
                        Defendant(s) U.S. District Judge

                     CASE MANAGEMENT ORDER (PHASE I)

      EVENT                                   DEADLINE
      Exchange of Initial Disclosures under Four weeks after the issuance of
      Fed. R. Civ. P 26 (a)(1):             the scheduling order
      Deadline to Amend Pleadings:
      Lay Witness List                        Six weeks before close of
                                              discovery
      Exhibit List                            Six weeks before close of
                                              discovery
      Expert Witness                          Six weeks before close of
      List/Disclosures/Report ‐ Plaintiff     discovery
      Expert Witness                          Two weeks before close of
      List/Disclosures/Report ‐ Defendant     discovery
      Rebuttal reports are due:               By the close of discovery
      Fact Discovery                          4‐9 months after issuance of the
                                              scheduling order, depending on
                                              the complexity of the case
      Expert Discovery                        4‐9 months after issuance of the
                                              scheduling order, depending on
                                              the complexity of the case
      Status Conference (to be held at the
      midpoint of fact discovery):
      Dispositive Motions and Motions to 30 days after close of discovery
      Limit/Exclude Expert Testimony
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      1.     LOCAL COUNSEL

      An attorney admitted to practice in the Eastern District of Michigan who

appears as attorney of record and is not an active member of the State Bar of

Michigan must specify local counsel with an office in this district. Local counsel

must enter an appearance and otherwise comply with Local Rule 83.20(f). All

inquiries regarding admission to this district should be directed to the Clerk’s

office at (313) 234‐5000.


      2.     DISCOVERY

      Discovery must be served sufficiently in advance of the discovery cutoff so

as to allow the opposing party sufficient time to respond under the Federal Rules

of Civil Procedure prior to the close of discovery. The Court will not order

discovery to take place after the cutoff date. PLEASE NOTE: Unless otherwise

ordered, the Court issues a global referral of all discovery matters to the assigned

Magistrate Judge. Before moving for an order relating to discovery, the movant

should consult with the assigned Magistrate Judge’s chambers on its discovery

motion procedures. Discovery must be served sufficiently in advance of the

discovery cutoff to allow the opposing party enough time to respond under the
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Federal Rules of Civil Procedure prior to the discovery deadline. All discovery

motions must be filed prior to the discovery deadline. The only discovery that

may be conducted after the discovery cutoff date without leave of the Court is

discovery ordered by the Magistrate Judge for which a timely‐filed motion was

pending before the discovery cutoff date.


      For discovery matters addressed by Judge Behm, a movant must first confer

with opposing counsel and then file a request for a conference with the Court,

stating that a conference was held with opposing counsel, and outlining the

nature of the unresolved dispute. See Fed. R. Civ. P. 16 (b)(3)(B)(v). Sanctions

may be imposed against any party who unreasonably refuses to resolve a

discovery dispute.


      3.     EXTENSIONS OF TIME

      Parties may agree to extend the discovery cutoff deadline by filing a

stipulation and order with the Court, provided the extension of time does not

affect the motion cutoffs, final pretrial conference, or trial dates. Extensions or

adjournments of dates other than the discovery cutoff will be considered upon

the filing of a motion or stipulation setting forth in detail the factual basis for the

request.
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      4.        BRIEFING GUIDELINES AND REQUIREMENTS

      The Court does not ordinarily set a briefing schedule for motions. Unless

specifically addressed in the Court’s Notice of Hearing, the time limits prescribed

in Local Rule 7.1(e) apply for filing responses and replies to motions. Sur‐replies

are generally not permitted. Requests for extensions of time may be made by

filing a concise stipulation and order explaining the specific reasons why such an

extension is necessary. Such a stipulation and order must be filed at least one

week before a brief is due.


       All briefs shall strictly comply with Local Rules 5.1 and 7.1. The Court does

not routinely grant requests to file longer briefs. Requests to file an oversized

brief may be made by filing a concise stipulation and order or ex parte motion

explaining the specific reasons why such an extension is necessary. Such a

stipulation and order or ex parte motion must be filed at least one week before a

brief is due.


      5.        COURTESY COPIES

      A courtesy copy of all motions and briefs including exhibits must be sent to

the chambers via First‐Class Mail the same day the document is e‐filed, or hand‐

delivered not later than the next business day after the document is e‐filed. The
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courtesy copy should consist of the actual e‐filed document and contain the

electronic file stamp on the top of each page. The courtesy copy must be bound

on the left side in a book‐style manner. The Court will not accept documents

loosely secured with a rubber band or binder clip. Exhibits must be labeled and

may be printed double sided. Relevant portions of exhibits must be highlighted.


      6.    NOTICE TO COURT OF RESOLUTION OF MOTION

      If the parties have resolved an issue that is the subject of a pending motion,

the parties must notify chambers in writing by the next business day. The parties

email e‐mail the Court’s Case Manager indicating that the issue has been resolved

and that the parties no longer wish to move forward with the motion.


      7.    CASE EVALUATION/FACILITATION

      Parties may stipulate to case evaluation or mediation or request a

settlement conference with the Court at any time. In all cases, a brief status

conference will be conducted shortly after the close of discovery to discuss

settlement options.


      8.    MOTIONS FOR SUMMARY JUDGMENT

      When filing motions for summary judgment pursuant to Rule 56 of the

Federal Rules of Civil Procedure, parties must proceed in accordance with the
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following:

Statement of Material Facts on Motion for Summary Judgment


       (a) The maker of the motion must include a Statement of Material Facts. In
short, concise, and numbered paragraphs, the maker of the motion must set forth
the material facts that the moving party contends there is no genuine issue to be
tried. Failure to submit such a statement may constitute grounds for striking
the motion or denying it.


      (b) The party opposing the motion must respond to each numbered
paragraph in the moving party’s statement. The numbering in the opposing
party’s response should correspond to the numbering in the motion. The
opposing party may add additional paragraphs containing separate, short, and
concise statements of additional material facts, if this is necessary to demonstrate
there exists a genuine issue to be tried.


      (c) Each numbered paragraph in the moving party’s Statement of Material
Facts will be deemed admitted for purposes of the motion unless specifically
controverted by a correspondingly numbered paragraph in the statement served
by the opposing party.


       (d) Each Statement of Material Fact – whether set forth by the maker of the
motion or the party opposing the motion – must be followed by citation to
interrogatory answers, depositions, documents, affidavits, declarations,
stipulations, admissions, electronically stored information, or other information
which would be admissible under Federal Rules of Civil Procedure 56(e), in
support of each claim or defense asserted.


      Attached appendices must contain an index and be tabbed.
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      Counsel are discouraged from employing lengthy, boilerplate recitations of

the summary judgment standard or string citations in support of well‐established

legal principles. Instead, counsel should focus analysis on a few well‐chosen

cases, preferably recent and from controlling courts. Where unpublished

opinions or opinions published only in a specialty reporter are cited, copies of

these cases must be submitted with the briefs.


      9.     REQUIREMENTS APPLICABLE TO ALL MOTIONS


      The Court requires strict compliance with E.D. Mich. LR 7.1(a), which

obligates moving parties to seek concurrence before filing any motion. A moving

party must certify compliance with this obligation by setting forth in the first

paragraph of every motion one of the following statements or one substantially

similar:


      (a) The undersigned counsel certifies that counsel personally spoke to,
or met with, opposing counsel, explaining the nature of the relief to be sought by
way of this motion and seeking concurrence in the relief; opposing counsel
expressly denied concurrence.


      (b) The undersigned counsel certifies that counsel communicated in
writing with opposing counsel, explaining the nature of the relief to be sought by
way of this motion and seeking concurrence in the relief; opposing counsel
expressly denied concurrence.
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      (c)    The undersigned counsel certifies that counsel communicated in
writing with opposing counsel, explaining the nature of the relief to be sought by
way of this motion and seeking concurrence in the relief, and three business days
have lapsed without opposing counsel expressly agreeing to the relief, orally or in
writing.


      (d) The undersigned counsel certifies that counsel made no attempt or a
limited attempt to seek concurrence in the relief requested by this motion
because of the following exceptional circumstances. [Set forth the exceptional
circumstances with specificity.]


      The above statements shall be modified appropriately where one or more

parties is unrepresented. The failure to certify compliance with this paragraph

will result in the motion being stricken.


      SO ORDERED.

Dated:                                __________________________
                                      F. Kay Behm
                                      United States District Judge
